                     UNITED STATES DISTRICT COURT
                  WESTERN DISTRICT OF NORTH CAROLINA
                          CHARLOTTE DIVISION

GINA ZAHRAN                               ) Civil Action No.
                                          )
                       Plaintiff,         )
                                          ) COMPLAINT
       vs.                                )
                                          )
BROWARD HEALTH ACO                        ) JURY TRIAL DEMAND
SERVICES, INC.                            )
                                          )
                       Defendant.         )
                                          )

                                NATURE OF ACTION

       1.      Plaintiff Gina Zahran (“Plaintiff”) brings this action against

Defendant Broward Health ACO Services, Inc. (“Defendant”) pursuant to the

Telephone Consumer Protection Act (“TCPA”), 47 U.S.C. § 227, the North

Carolina Debt Collection Act (“NCDCA”), N.C. Gen. Stat. § 75-50 et seq., and the

Florida Consumer Collection Practices Act (“FCCPA”), Fla. Stat. § 559.55 et seq.

                   JURISDICTION, VENUE, AND STANDING

       2.      This Court has jurisdiction pursuant to 47 U.S.C. § 227(b)(3), 28

U.S.C. § 1331, and 28 U.S.C. § 1367(a).

       3.      Venue is proper before this Court pursuant to 28 U.S.C. § 1391(b),

where the acts and transactions giving rise to Plaintiff’s action occurred in this

district, where Plaintiff resides in this district, and where Defendant transacts

business in this district.



                                          1

  Case 3:18-cv-00139-FDW-DCK Document 1 Filed 03/19/18 Page 1 of 17
       4.    “In determining whether an intangible harm constitutes injury in

fact, both history and the judgment of Congress play important roles.” Spokeo,

Inc. v. Robins, 136 S. Ct. 1540, 1549, 194 L. Ed. 2d 635 (2016), as revised (May

24, 2016). Congress is “well positioned to identify intangible harms that meet

minimum Article III requirements,” thus “Congress may ‘elevat[e] to the status of

legally cognizable injuries concrete, de facto injuries that were previously

inadequate in law.’” Id. (quoting Lujan v. Defs of Wildlife, 504 U.S. 555, 578

(1992)).

       5.    “Courts have consistently held that allegations of nuisance and

invasion of privacy in TCPA actions are sufficient to state a concrete injury under

Article III.” Hewlett v. Consol. World Travel, Inc., 2016 WL 4466536, at *2 (E.D.

Cal. Aug. 23, 2016) (“The purpose and history of the TCPA thus suggest that

Congress sought to curb the ‘aggravation, nuisance, and invasion of privacy’ that

plaintiff alleges here, which resulted from defendant’s alleged use of an ATDS to

call plaintiff despite plaintiff’s repeated requests for those autodialed calls to

stop.”).

            THE TELEPHONE CONSUMER PROTECTION ACT

       6.    Congress enacted the TCPA due to widespread concern over the

invasion of privacy caused by the proliferation of automatic and prerecorded

phone calls. See Mims v. Arrow Fin. Services, LLC, 132 S. Ct. 740, 745, 181 L.

Ed. 2d 881 (2012).



                                        2

  Case 3:18-cv-00139-FDW-DCK Document 1 Filed 03/19/18 Page 2 of 17
       7.       In enacting the TCPA, Congress found that “‘unrestricted

telemarketing . . . can be an intrusive invasion of privacy.’ In particular, Congress

reported, ‘many consumers are outraged over the proliferation of intrusive

nuisance calls to their homes.’” Id. (citing S.Rep. No. 102-178, at 4-5, reprinted in

1991 U.S.C.C.A.N. at 1972).

       8.       The TCPA makes it unlawful for any person “to make any call

(other than a call made for emergency purposes or made with the prior express

consent of the called party) using any automatic telephone dialing system or an

artificial or prerecorded voice . . . to any telephone number assigned to a . . .

cellular telephone service . . . .” 47 U.S.C. § 227(b)(1)(A)(iii).

       9.       The TCPA gives a private right of action to individuals that allows

for both injunctive relief as well as monetary damages. Damages are calculated by

the greater of actual damages or $500 for each violation of the statute. 47 U.S.C. §

227(b)(3)(B).

       10.      Under the TCPA, subscribers of wireless service and customary

users of a telephone number, who are called in violation of the TCPA, have

standing to bring a TCPA suit. See Lee v. Loandepot.com, LLC, 14-CV-01084-

EFM, 2016 WL 4382786, at *4 (D. Kan. Aug. 17, 2016); In the Matter of Rules &

Regulations Implementing the Tel. Consumer Prot. Act of 1991, 30 F.C.C. Rcd.

7961 (F.C.C. 2015) (“‘[C]alled party’ is best understood to mean the subscriber to

whom the dialed wireless number is assigned because the subscriber is ‘charged



                                           3

  Case 3:18-cv-00139-FDW-DCK Document 1 Filed 03/19/18 Page 3 of 17
for the call’ and, along with a non-subscriber customary user, is the person whose

privacy is interrupted by unwanted calls.”).

       11.    “If the court finds that the Defendant willfully or knowingly violated

this subsection” the court may “increase the amount of the award to an amount

equal to not more than 3 times the amount available under subparagraph (B) of

this paragraph.” 47 U.S.C. § 227(b)(3)(C).

      THE FLORIDA CONSUMER COLLECTION PRACTICES ACT

       12.    Similar to the Fair Debt Collection Practices Act, the FCCPA,

Florida’s consumer protection statute, was enacted as a means of regulating the

activities of consumer collection agencies within the state. LeBlanc v. Unifund

CCR Partners, 601 F.3d 1185, 1190 (11th Cir. 2010).

       13.    “The Consumer Collection Practices Act is a laudable legislative

attempt to curb what the Legislature evidently found to be a series of abuses in the

area of debtor-creditor relations.” Laughlin v. Household Bank, Ltd., 969 So. 2d

509, 512 (Fla. 1st Dist. App. 2007) (quoting Harris v. Beneficial Fin. Co. of

Jacksonville, 338 So. 2d 196, 200-01 (Fla. 1976)).

       14.    “The FCCPA is to be construed in a manner that is protective of the

consumer.” Id. With this in mind, the FCCPA is meant to be read, “in addition to

the requirements and regulations of the federal act [the FDCPA]. In the event of

any inconsistency between any provision of this part and any provision of the

federal act, the provision which is more protective of the consumer or debtor shall

prevail.” Fla. Stat. § 559.552.

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  Case 3:18-cv-00139-FDW-DCK Document 1 Filed 03/19/18 Page 4 of 17
       15.    The FCCPA provides that “[i]n collecting consumer debts, no person

shall . . . Willfully communicate with the debtor or any member of her or his

family with such frequency as can reasonably be expected to harass the debtor or

her or his family, or willfully engage in other conduct which can reasonably be

expected to abuse or harass the debtor or any member of her or his family.” Fla.

Stat. § 559.72(7).

       16.    “Whether communication was frequent enough to constitute

harassment is generally a jury question. Proof of frequent calls, continuing after

the plaintiff told the defendant to stop calling, is sufficient to demonstrate a triable

issue of fact.” Smith v. MarkOne Fin., LLC, No. 3:13-cv-933-J-32MCR, 2015 WL

419005, at *6 (M.D. Fla. Feb. 2, 2015) (citing Story v. J. M. Fields, Inc., 343 So.

2d 675, 677 (Fla. Dist. Ct. App. 1977)) (internal citation omitted).

       17.    In addition to actual and statutory damages, the FCCPA also

provides for punitive damages. “It clearly appears to have been the intent of the

Legislature to provide a remedy for a class of injury where damages are difficult to

prove and at the same time provide a penalty to dissuade parties . . . from engaging

in collection practices which may have been heretofore tolerated industry wide.”

Laughlin, 969 So. 2d at 513 (quoting Harris, 338 So. 2d at 200).

             THE NORTH CAROLINA DEBT COLLECTION ACT

       18.    The NCDCA is “patterned after the FDCPA” and prohibits much of

the same conduct and is evaluated with a similar goal of consumer protection as

the FDCPA. McWirther v. Telecheck Servs., Inc., No. 3:99CV216MU, 1999 WL

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  Case 3:18-cv-00139-FDW-DCK Document 1 Filed 03/19/18 Page 5 of 17
33261239, at *3 (W.D.N.C. Dec. 1, 1999); see also DIRECTV, Inc. v. Cephas, 294

F. Supp. 2d 760, 764 at n.2 (M.D.N.C. 2003) (“The purpose of both [the FDCPA

and the NCDCA] is to protect consumers from unfair or deceptive practices by

debt collectors.”).

       19.    “Unlike the FDCPA, [the NCDCA] does not limit the definition of

debt collector only to those collecting debts on behalf of others; any person

engaging in debt collection from a consumer falls within the statutory definition.”

Davis Lake Cmty. Ass’n, Inc. v. Feldmann, 138 N.C. App. 292, 295, 530 S.E.2d

865, 868 (2000).

       20.    “The NCDCA prohibits a ‘debt collector’ from using unfair debt

collection practices, including the use of threats, coercion, harassment,

unreasonable publications of the consumer’s debt, deceptive representations, or

other unconscionable means to collect a ‘debt’ from a ‘consumer.’” Ross v.

Washington Mut. Bank, 566 F. Supp. 2d 468, 479 (E.D.N.C. 2008).

       21.    “Any debt collector who fails to comply with any provision of this

Article with respect to any person is liable to such person in a private action in an

amount equal to the sum of (i) any actual damage sustained by such person as a

result of such failure and (ii) civil penalties the court may allow, but not less than

five hundred dollars ($500.00) nor greater than four thousand dollars ($4,000) for

each violation.” N.C. Gen. Stat. § 75-56(b).




                                          6

  Case 3:18-cv-00139-FDW-DCK Document 1 Filed 03/19/18 Page 6 of 17
                                      PARTIES

         22.   Plaintiff is a natural person who at all relevant times resided in the

State of North Carolina, County of Mecklenburg, and City of Charlotte.

         23.   Plaintiff is a “consumer” as defined by N.C. Gen. Stat. § 75-50(1).

         24.   Plaintiff is a “consumer” as defined by Fla. Stat. § 559.55(8).

         25.   Defendant is an entity who at all relevant times was engaged, by use

of the mails and telephone, in the business of attempting to collect a “debt” from

Plaintiff, as defined by N.C. Gen. Stat. § 75-50(2).

         26.   Defendant is an entity who at all relevant times was engaged, by use

of the mails and telephone, in the business of attempting to collect a “debt” from

Plaintiff, as defined by Fla. Stat. § 559.55(6)

         27.   Defendant is a “debt collector” as defined by N.C. Gen. Stat. § 75-

50(3).

         28.   Defendant is a “debt collector” as defined by Fla. Stat. § 559.55(7).

                           FACTUAL ALLEGATIONS

         29.   Plaintiff is subscribed to a cellular telephone service and has been

assigned a wireless number in connection with such subscription.

         30.   In or around August 2015, Plaintiff received emergency medical

services rendered by Defendant.

         31.   Due to Plaintiff’s negative experience with Defendant, she was

assured during a phone call in or around November 2015 that the copay for the

bills associated with the services would not be owed.

                                           7

  Case 3:18-cv-00139-FDW-DCK Document 1 Filed 03/19/18 Page 7 of 17
       32.    However, Defendant continued to place calls to Plaintiff in effort to

seek payment.

       33.    Plaintiff has made several payments to Defendant, for which she has

not received proper credit.

       34.    Plaintiff spoke with Defendant in or around November 2016, and

told Defendant to stop calling her.

       35.    Thus, to the extent Defendant had Plaintiff’s prior express consent to

place calls to Plaintiff’s wireless number, such consent was revoked no later than

November 2016.

       36.    Defendant placed multiple additional calls to Plaintiff’s wireless

number.

       37.    Many times when Plaintiff would answer the calls, she would hear

clicking sounds or beeps, as well as long time delays before hearing anyone speak.

       38.    Plaintiff has received approximately 450 telephone calls from

Defendant since November 2016.

       39.    Plaintiff feels harassed by receiving so many calls from Defendant

after she had told them to stop.

       40.    Upon information and belief, the telephone calls identified above

were placed to Plaintiff’s wireless number using an automatic telephone dialing

system.

       41.    Defendant did not place any calls to Plaintiff’s wireless number for

emergency purposes.

                                         8

  Case 3:18-cv-00139-FDW-DCK Document 1 Filed 03/19/18 Page 8 of 17
         42.   Defendant did not have Plaintiff’s prior express consent to make any

calls to Plaintiff’s wireless number.

         43.   Upon information and belief, Defendant voluntarily placed the calls

identified above to Plaintiff’s wireless number.

         44.   Upon information and belief, Defendant placed all calls to Plaintiff’s

wireless number under its own free will.

         45.   Upon information and belief, Defendant had knowledge that it was

using an automatic telephone dialing system to place each of the calls identified

above.

         46.   Upon information and belief, Defendant intended to use an

automatic telephone dialing system to place each of the calls identified above.

         47.   Upon information and belief, Defendant maintains business records

that show all calls Defendant placed to Plaintiff’s wireless number, which may

reveal the existence of additional violations beyond those pleaded above.

         48.   Because Defendant continued to place calls and text messages to

Plaintiff’s wireless number, Plaintiff sought the assistance of an attorney and

retained Thompson Consumer Law Group.

         49.   On February 5, 2018, Plaintiff’s counsel sent Defendant a notice of

representation letter.

         50.   A true and correct copy of the February 5, 2018 notice of

representation letter is attached to this complaint as Exhibit A.



                                           9

  Case 3:18-cv-00139-FDW-DCK Document 1 Filed 03/19/18 Page 9 of 17
       51.    The February 5, 2018 notice of representation letter demanded that

Defendant cease all communication with Plaintiff and direct any future contact

and correspondence to Plaintiff’s counsel. See Exhibit A.

       52.    On    February 8,       2018,    Defendant   sent   Plaintiff’s   counsel

correspondence confirming receipt of the February 5, 2018 notice of

representation letter.

       53.    A true and correct copy of the February 8, 2018 letter is attached to

this complaint as Exhibit B.

       54.    Defendant’s February 8, 2018 letter also informed Plaintiff’s counsel

that it required “your office to provide a HIPAA Authorization to Release Health

Information signed by your client/our patient. Please fax that information to 954-

847-4138. Upon receipt of this information we will be able to provide further

detail on the account and discuss the allegations set forth in the draft complaint

sent by your office.” Exhibit B.

       55.    Despite Defendant’s confirmation that it had received Plaintiff’s

counsel’s notice of representation letter which unequivocally instructed Defendant

to cease all contact with Plaintiff, Defendant continued to place calls to Plaintiff’s

wireless number.

       56.    On February 14, 2018, the office of Plaintiff’s counsel faxed

Plaintiff’s signed HIPAA release to Defendant.

       57.    However, to date, Defendant has failed to contact Plaintiff’s counsel

to discuss the instant allegations.

                                          10

 Case 3:18-cv-00139-FDW-DCK Document 1 Filed 03/19/18 Page 10 of 17
       58.    Defendant knowing placed the following calls to Plaintiff’s wireless

number after it knew that Plaintiff was represented by an attorney:

              1.       February 14, 2018 at 8:48 A.M.;
              2.       February 14, 2018 at 8:52 A.M.;
              3.       February 21, 2018 at 8:43 A.M.;
              4.       February 21, 2018 at 9:00 A.M.;
              5.       February 22, 2018 at 8:31 A.M.;
              6.       February 22, 2018 at 8:41 A.M.;
              7.       February 22, 2018 at 8:47 A.M.;
              8.       February 27, 2018 at 8:33 A.M.;
              9.       February 27, 2018 at 8:56 A.M.;
              10.      March 1, 2018 at 8:46 A.M;
              11.      March 6, 2018 at 9:53 A.M.;
              12.      March 6, 2018 at 10:15 A.M.;
              13.      March 6, 2018 at 10:55 A.M.;
              14.      March 8, 2018 at 8:42 A.M.;
              15.      March 13, 2018 at 8:36 A.M.;
              16.      March 15, 2018 at 8:26 A.M.;
              17.      March 15, 2018 at 8:43 A.M.; and
              18.      March 15, 2018 at 9:06 A.M.

       59.    As of February 8, 2018, Defendant knew that Plaintiff was

represented by an attorney.

       60.    As of February 8, 2018, Defendant had no reason to contact Plaintiff

with respect to the details of Plaintiff’s alleged claims.

       61.    At no point in time did Plaintiff’s counsel consent to Defendant

directly communicating with Plaintiff.

                                 COUNT I
                    VIOLATION OF 47 U.S.C. § 227(b)(1)(A)(iii)

       62.    Plaintiff repeats and re-alleges each factual allegation above.




                                          11

 Case 3:18-cv-00139-FDW-DCK Document 1 Filed 03/19/18 Page 11 of 17
      63.      Defendant violated 47 U.S.C. § 227(b)(1)(A)(iii) by willfully and

knowingly placing telephone calls to Plaintiff’s cellular telephone number using

an automatic telephone dialing system and/or an artificial or pre-recorded voice.

      WHEREFORE, Plaintiff prays for relief and judgment, as follows:

            a) Adjudging that Defendant violated 47 U.S.C. § 227(b)(1)(A)(iii);

            b) Enjoining Defendant from placing any further telephone calls to

               Plaintiff in violation of the TCPA, pursuant to 47 U.S.C. §

               227(b)(3)(A);

            c) Awarding Plaintiff statutory damages in the amount of $500.00 per

               violation, pursuant to 47 U.S.C. § 227(b)(3)(B);

            d) Awarding Plaintiff actual damages, pursuant to 47 U.S.C. §

               227(b)(3)(B);

            e) Awarding Plaintiff treble damages, pursuant to 47 U.S.C. §

               227(b)(3);

            f) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in

               this action;

            g) Awarding Plaintiff pre-judgment and post-judgment interest as

               permissible by law; and

            h) Awarding such other and further relief as the Court may deem just

               and proper.




                                         12

 Case 3:18-cv-00139-FDW-DCK Document 1 Filed 03/19/18 Page 12 of 17
                                COUNT II
                   VIOLATION OF N.C. GEN. STAT. § 75-52(3)

       64.      Plaintiff repeats and re-alleges each factual allegation above.

       65.      Defendant violated N.C. Gen. Stat. § 75-52(3) by causing a

telephone to ring or engaging Plaintiff in telephone conversation with such

frequency as to be unreasonable or to constitute a harassment to Plaintiff under the

circumstances.

       WHEREFORE, Plaintiff prays for relief and judgment, as follows:

             a) Adjudging that Defendant violated N.C. Gen. Stat. § 75-52(3);

             b) Awarding Plaintiff actual damages, pursuant to N.C. Gen. Stat. § 75-

                56(b);

             c) Awarding Plaintiff statutory damages per violation, pursuant to N.C.

                Gen. Stat. § 75-56(b);

             d) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in

                this action, pursuant to N.C. Gen. Stat. § 75-16.1;

             e) Awarding Plaintiff any pre-judgment and post-judgment interest as

                permissible by law; and

             f) Awarding such other and further relief as the Court may deem just

                and proper.

                               COUNT III
                   VIOLATION OF N.C. GEN. STAT. § 75-55(3)

       66.      Plaintiff repeats and re-alleges each factual allegation above.



                                           13

 Case 3:18-cv-00139-FDW-DCK Document 1 Filed 03/19/18 Page 13 of 17
       67.      Defendant violated N.C. Gen. Stat. § 75-55(3) by communicating

with Plaintiff (other than a statement of account used in the normal course of

business) upon notification by Plaintiff’s attorney that she represents Plaintiff.

       WHEREFORE, Plaintiff prays for relief and judgment, as follows:

             a) Adjudging that Defendant violated N.C. Gen. Stat. § 75-55(3);

             b) Awarding Plaintiff actual damages, pursuant to N.C. Gen. Stat. § 75-

                56(b);

             c) Awarding Plaintiff statutory damages per violation, pursuant to N.C.

                Gen. Stat. § 75-56(b);

             d) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in

                this action, pursuant to N.C. Gen. Stat. § 75-16.1;

             e) Awarding Plaintiff any pre-judgment and post-judgment interest as

                permissible by law; and

             f) Awarding such other and further relief as the Court may deem just

                and proper.

                                COUNT IV
                     VIOLATION OF FLA. STAT. § 559.72(7)

       68.      Plaintiff repeats and re-alleges each factual allegation above.

       69.      Defendant     violated    Fla.   Stat.   §   559.72(7)   by   willfully

communicating with Plaintiff with such frequency as would reasonably be

expected to harass Plaintiff.

       WHEREFORE, Plaintiff prays for relief and judgment, as follows:


                                            14

 Case 3:18-cv-00139-FDW-DCK Document 1 Filed 03/19/18 Page 14 of 17
             a) Adjudging that Defendant violated Fla. Stat. § 559.72(7);

             b) Awarding Plaintiff statutory damages, pursuant to Fla. Stat. §

                559.77(2), in the amount of $1,000.00;

             c) Awarding Plaintiff actual damages, pursuant to Fla. Stat. §

                559.77(2);

             d) Awarding Plaintiff punitive damages, pursuant to Fla. Stat. §

                559.77(2);

             e) Awarding Plaintiff such equitable relief as the Court deems

                necessary or proper, including enjoining Defendant from further

                violations of the FCCPA, pursuant to Fla. Stat. § 559.77(2);

             f) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in

                this action pursuant to Fla. Stat. § 559.77(2);

             g) Awarding Plaintiff pre-judgment and post-judgment interest as

                permissible by law; and

             h) Awarding such other and further relief as the Court may deem just

                and proper.

                               COUNT V
                    VIOLATION OF FLA. STAT. § 559.72(18)

       70.      Plaintiff repeats and re-alleges each factual allegation above.

       71.      Defendant violated Fla. Stat. § 559.72(18) by communicating with

Plaintiff when it knew that Plaintiff was represented by an attorney.

       WHEREFORE, Plaintiff prays for relief and judgment, as follows:


                                           15

 Case 3:18-cv-00139-FDW-DCK Document 1 Filed 03/19/18 Page 15 of 17
          a) Adjudging that Defendant violated Fla. Stat. § 559.72(18);

          b) Awarding Plaintiff statutory damages, pursuant to Fla. Stat. §

             559.77(2), in the amount of $1,000.00;

          c) Awarding Plaintiff actual damages, pursuant to Fla. Stat. §

             559.77(2);

          d) Awarding Plaintiff punitive damages, pursuant to Fla. Stat. §

             559.77(2);

          e) Awarding Plaintiff such equitable relief as the Court deems

             necessary or proper, including enjoining Defendant from further

             violations of the FCCPA, pursuant to Fla. Stat. § 559.77(2);

          f) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in

             this action pursuant to Fla. Stat. § 559.77(2);

          g) Awarding Plaintiff pre-judgment and post-judgment interest as

             permissible by law; and

          h) Awarding such other and further relief as the Court may deem just

             and proper.

                               TRIAL BY JURY

    72.      Plaintiff is entitled to and hereby demands a trial by jury.

    Dated: March 19, 2018.

                                          Respectfully submitted,

                                          /s/ Holly E. Dowd
                                          Holly E. Dowd (N.C. Bar No. 37533)
                                          Thompson Consumer Law Group, PLLC

                                        16

Case 3:18-cv-00139-FDW-DCK Document 1 Filed 03/19/18 Page 16 of 17
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                                17

Case 3:18-cv-00139-FDW-DCK Document 1 Filed 03/19/18 Page 17 of 17
